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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )                8:16CR307
                                              )
       vs.                                    )
                                              )
GUSTAVO ALVARADO-GUERRERO,                    )                  ORDER
KAROLINE ALVIDREZ AND EVERLYN                 )
DELGADO                                       )

                     Defendant..


        This matter is before the court on the defendant’s Unopposed Motion to Continue
Trial [49]. Counsel is seeking to continue trial as he is in trial in Douglas County Court.
Defendant has complied with NECrimR 12.1(a). For good cause shown,

       IT IS ORDERED that the Motion to Continue Trial [49] is granted as follows:

     1. The jury trial, for all defendants, now set for February 28, 2017 is continued to
March 14, 2017

       2. The defendant has filed an affidavit required by paragraph 9 of the progression
order and NE.CrimR 12.1(a) forthwith.

        3. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between today’s date and March 14, 2017, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act. Failure to grant a continuance would deny counsel the reasonable time
necessary for effective preparation, taking into account the exercise of due diligence. 18
U.S.C. § 3161(h)(7)(A) & (B)(iv).

       DATED February 7, 2017.

                                     BY THE COURT:

                                     s/ Susan M. Bazis
                                     United States Magistrate Judge
